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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                             §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §
                                                   §
GRANT STINCHFIELD,                                 §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                   §
        Defendant.                                 §
                                                   §
                                                   §
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                                                   §
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                                                   §

        DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTFF’S MOTION
                    FOR ENTRY OF PROTECTIVE ORDER


        Defendant Grant Stinchfield (“Stinchfield”) hereby files, through the undersigned counsel,

his response in opposition to Plaintiff’s motion for entry of protective order. Accompanying this

response is a supporting brief. In that brief, Stinchfield contends that Plaintiff’s proposed

protective order should not be entered because Plaintiff has not shown that a protective order is

needed in this case, and second Plaintiff’s proposed protective order precludes Stinchfield’s

attorneys from reviewing pertinent documents and as a result causes Stinchfield substantial harm.

        Stinchfield requests that the Court deny Plaintiff’s motion, reject Plaintiff’s proposed

protective order, and grant Stinchfield all appropriate relief.




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July16, 2020                          Respectfully submitted,

                                      BREWER STOREFRONT, PLLC


                                      By:/s/ Ian Shaw__________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 16th day of

July 2020.


                                             /s/ Ian Shaw
                                             Ian Shaw




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